       Case 1:25-cv-00858-SLS        Document 21     Filed 04/09/25    Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DEMOCRACY FORWARD
 FOUNDATION,

               Plaintiff,
                                                     Civil Action No. 25 - 858 (SLS)
        v.                                           Judge Sparkle L. Sooknanan

 OFFICE OF MANAGEMENT AND
 BUDGET, et al.,

               Defendants.


                                        ORDER

       For the reasons stated in the Court’s Memorandum Opinion, ECF No. 20, the Court

DENIES the Defendants’ Motion to Dismiss, ECF No. 9, and DENIES the Plaintiff’s Motion for

Preliminary Injunction, ECF No. 3.

       SO ORDERED.




                                                SPARKLE L. SOOKNANAN
                                                United States District Judge

Date: April 9, 2025
